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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                 : CRIMINAL NO. 1:22-CR-15-apm
                                         :
                                         :
             v.                          :
                                         :
                                         :
JESSICA WATKINS,                         :
                                         :
              Defendant                  :

                    NOTICE OF JOINDER OF ECF No. 299


      The Defendant, Jessica Watkins, by and through counsel, Jonathan W. Crisp,

Esq., hereby notifies the Court that she joins Defendant Thomas E. Caldwell’s

Motion in Limine to Allow into Evidence Certain Inconsistent Statements Made by

the Government filed as ECF No. 299, and hereby moves the Court to consider

Caldwell’s motion as if the motion had been filed by Watkins directly.



                                            Respectfully submitted,


Date: 13 September 2022                     /s/Jonathan W. Crisp
                                            Jonathan W. Crisp, Esquire
                                            4031 North Front St.
                                            Harrisburg, PA 17110
                                            I.D. # 83505
                                            (717) 412-4676
                                            jcrisp@crisplegal.com


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                        CERTIFICATE OF SERVICE
       The undersigned hereby certifies that the foregoing document was served on
the individual listed below:


                          ELECTRONIC SERVICE
                           Kathryn Rakoczy, Esquire
                        Assistant United States Attorney
               U.S. Attorney’s Office for the District of Columbia
                            555 Fourth Street, NW
                            Washington, DC 20530
                         Kathryn.Rakoczy@usdoj.gov


                           Jeffrey S. Nestler, Esquire
                        Assistant United States Attorney
               U.S. Attorney’s Office for the District of Columbia
                             555 Fourth Street, NW
                            Washington, DC 20530
                           Jeffrey.nestler@usdoj.gov



Date: 13 September 2022                     /s/ Jonathan W. Crisp
                                            Jonathan W. Crisp, Esquire
                                            4031 North Front St.
                                            Harrisburg, PA 17110
                                            I.D. # 83505
                                            (717) 412-4676
                                            jcrisp@crisplegal.com
                                            Attorney for Defendant




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